                       UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF WISCONSIN
_____________________________________________________________________________

  UNITED STATES OF AMERICA,

                           Plaintiff,
                                                      Case No. 17-CR-124
                  v.

  MARCUS HUTCHINS,

                    Defendant.
______________________________________________________________________________

                               STATUS REPORT
______________________________________________________________________________

        The United States of America, by its attorneys, Gregory J. Haanstad, United States

Attorney for the Eastern District of Wisconsin, and Assistant U.S. Attorneys Michael Chmelar and

Benjamin Proctor, and defendant Marcus Hutchins by his attorneys Brian Klein, Marcia Hofmann,

and Daniel Stiller file this joint status report.

        Since last status hearing, the government has produced additional discovery in this matter

in a production on December 5, 2017. Counsel for Mr. Hutchins have not yet received those

materials.

        On November 21, 2017, counsel for the government and counsel for Mr. Hutchins

participated in a conference call in an attempt to resolve open issues related those discovery

requests. Despite our best efforts, we have been unable to resolve those issues. On December 7,

2017, counsel for Mr. Hutchins informed the government they intend to file a motion for an order

that compels the government to produce certain materials to the defense.




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       At the status hearing scheduled for December 11, 2017, the parties will ask the Court to set

the following schedule regarding the defendant’s motion to compel: defendant’s motion to compel

to be filed no later than 5:00 p.m. Central on January 5, 2018; the government’s response to be

filed no later than the 5:00 p.m. Central on January 19, 2018; and a status hearing on the motion

to compel the week of January 22, 2018. Counsel for Mr. Hutchins will also ask the Court for the

opportunity to file a reply.

       Because this case has been designated as complex under 18 U.S.C. 3161(7)(B)(ii), the

parties agree that time should be excluded under Section 3161(7)(A) from December 11, 2017 to

and including the next status hearing because the ends of justice served by taking such action

outweigh the best interest of the public and defendant in a speedy trial.

                                              Respectfully submitted,

                                              GREGORY J. HAANSTAD
                                              United States Attorney

                                      By:     /s/ Michael Chmelar
                                              Michael Chmelar
                                              Assistant United States Attorney
                                              United States Attorney’s Office
                                              Eastern District of Wisconsin
                                              517 East Wisconsin Avenue
                                              Milwaukee, Wisconsin 53202
                                              Telephone: (414) 297-1728




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